Case 2:04-CV-0234O-.]DB-STA Document 21 Filed 08/01/05 Page 1 of 2 Page|D 33

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IN THE UNITED STATES DISTRICT COURT .
FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG - 1 AH H¥ 00

WESTERN DIVISION
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CHERRIE L. FULGHUM, wm U{ *_ §!Z{R:CLPOURT
W/D Q:- itt :r‘,i\?i.lrrll§
Piainriff,
V' No. 04_2340 B
FEDEX CORPORATION,
Defendant.

 

ORDER DIRECTING CLERK TO REMOVE MOTION FROM PENDING STATUS

 

Pending on the Court‘s docket is the motion of the Plaintiff, Cherrie L. Fulghum, to continue
the scheduling conference originally set for September 8, 2004 (Doc. No. 3). As the scheduling

conference Was reset and has been conducted, the Clerk of Court is directed to remove the motion

from pending status.

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J. ANIEL BREEN \
UN TED STATEs DISTRJCT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CV-02340 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

